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                                    Exhibit A

                                 Proposed Order




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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO

     In re:                                                 Title III

     COMMONWEALTH OF PUERTO RICO, and                       Case No. 17-01578 (LTS)

     PUERTO RICO SALES TAX                                  Case No. 17-01599
     FINANCING CORPORATION,
                                                            (Jointly Administered)
                                  Debtors.
                                                            Re: Docket No. __


                      ORDER PURSUANT TO BANKRUPTCY
               CODE SECTION 105(a) CONFIRMING THE AUTHORITY
         OF BANKS TO CONTINUE HONORING INSTRUCTIONS AND PAYMENT
         INSTRUMENTS WITH RESPECT TO THE DEBTORS’ BANK ACCOUNTS

          Upon the Motion of Debtors Pursuant to Bankruptcy Code Section 105(a) for Entry of

 Order Confirming Authority of Banks to Continue Honoring Instructions and Payment

 Instruments with Respect to the Debtors’ Bank Accounts (the “Motion”);1 and the Court having

 found it has subject matter jurisdiction over this matter pursuant to PROMESA section 306; and

 it appearing that venue in this district is proper pursuant to PROMESA section 307; and the

 Court having found that the relief requested in the Motion is in the best interests of the Debtors,

 creditors, and other parties in interest; and the Court having found that the Debtors provided

 adequate and appropriate notice of the Motion under the circumstances and that no other or

 further notice is required; and the Court having reviewed the Motion and having heard

 statements in support of the Motion at a hearing held before the Court (the “Hearing”); and the

 Court having determined that the legal and factual bases set forth in the Motion and at the

 Hearing establish just cause for the relief granted herein; and any objections to the relief



 1
     Capitalized terms used but not otherwise defined herein have the meanings given to them in
     the Motion.

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 requested herein having been withdrawn or overruled on the merits; and after due deliberation

 and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

            1.    The Motion is granted as set forth herein.

            2.    Pursuant to Bankruptcy Code section 105, made applicable by PROMESA section

 301(a), the Banks are authorized to continue honoring authorized transfers, deposits, and

 withdrawals to or from Bank Accounts without incurring any liability therefor.

            3.    For the avoidance of doubt, without further order of the Court, Banks may

 (a) honor all authorized transfer, deposit, and withdrawal instructions to or from the Debtors’

 depository, disbursement and other accounts ("Bank Accounts") and receive, process, honor,

 and/or pay all checks presented for payment or authorized payment requests (collectively, the

 “Instructions and Payment Instruments”), whether such Instructions and Payment Instruments

 were presented and/or submitted before or after the Petition Date, and (b) rely on the Debtors’

 designation of any particular Instruction and Payment Instrument without any Bank duty of

 further inquiry and without incurring any liability therefor.

            4.    Nothing herein is intended to, shall constitute, or shall be deemed to constitute the

 Debtors’ waiver of their rights pursuant PROMESA section 305, and the Debtors do not by the

 Motion provide any consent otherwise required by PROMESA section 305.

            5.    Notwithstanding the applicability of any Bankruptcy Rule, the terms and

 conditions of this order shall be immediately effective and enforceable upon its entry.

            6.    The Debtors and the Oversight Board, as the Debtors’ representative, are

 authorized to take all actions, and to execute all documents, necessary or appropriate, to

 effectuate the relief granted in this order in accordance with the Motion.




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            7.    The Court shall retain jurisdiction to hear and determine all matters arising from

 or related to the implementation, enforcement, or interpretation of this order.


 Dated: May ____, 2017
        San Juan, Puerto Rico                         Honorable Laura T. Swain
                                                      United States District Judge




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